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                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION



JAMI CLAIRE and KATHRYN LANE,

           Plaintiffs,

     v.                                       Case No.: 4:20-cv-20

FLORIDA DEPARTMENT OF
MANAGEMENT SERVICES; JONATHAN
SATTER, in his official capacity as
Secretary of the Florida Department of
Management Services; UNIVERSITY OF
FLORIDA BOARD OF TRUSTEES;
MORTEZA HOSSEINI, in his official
capacity as Chair of the University of
Florida Board of Trustees; THOMAS
KUNTZ, DAVID BRANDON, JAMES
HEAVENER, LEONARD JOHNSON,
MICHAEL MURPHY, DANIEL O’KEEFE,
RAHUL PATEL, MARSHA POWERS,
JASON ROSENBERG, ROBERT STERN,
RAY THOMAS, and ANITA ZUCKER, in
their official capacities as Members of the
University of Florida Board of Trustees;
and ANDY THOMAS, in his official
capacity as Public Defender of the Second
Judicial Circuit of Florida,

           Defendants.



                 COMPLAINT FOR DECLARATORY
              AND INJUNCTIVE RELIEF AND DAMAGES


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                    PRELIMINARY STATEMENT

  1.    Plaintiffs Jami Claire (“Ms. Claire”) and Kathryn Lane (“Ms.

Lane”) are employees of the State of Florida (“State”). As part of their

compensation for employment, they receive employer-sponsored health

insurance benefits that are solicited, chosen, and implemented by the

State (“State Plans”). All of the State Plans, including those provided to

Plaintiffs, explicitly exclude coverage of “gender reassignment or

modification services or supplies” (“State Plan Exclusion”). Plaintiffs are

transgender individuals who were, and who continue to be, denied

coverage for medically necessary gender-affirming care (also referred to

as “transition-related care”) for gender dysphoria due to this categorical

exclusion.

  2.    Gender-affirming care is medically necessary treatment for

gender dysphoria, a medical condition codified in the Diagnostic and

Statistical Manual of Mental Disorders (“DSM-5”) and the International

Classification of Diseases (“ICD-10”). The State Plan Exclusion

contravenes the well-established medical consensus that such treatment

can be medically necessary and life-saving.

  3.    As a result of the State Plan Exclusion, Plaintiffs have been

forced to forego medically necessary care for gender dysphoria. The

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State Plans single out transgender employees, like Plaintiffs, for unequal

treatment by categorically depriving them of coverage for gender-

affirming care through the State Plan Exclusion. Other State employees

who are not transgender do not face categorical exclusions barring

coverage for medically necessary health care.

   4.     The State’s categorical exclusion of medically necessary gender-

affirming care in all State Plans constitutes unlawful sex discrimination in

violation of Title VII and the Equal Protection Clause. Plaintiffs bring this

action for declaratory and injunctive relief and damages pursuant to 42

U.S.C. § 2000e and 42 U.S.C. § 1983, for past and ongoing injury to their

rights.

                            JURISDICTION

   5.     This action arises under 42 U.S.C. § 1983 and Title VII, 42 U.S.C.

§ 2000e.

   6.     This Court has jurisdiction over Plaintiffs’ claims pursuant to 42

U.S.C. § 2000e-5(f)(3) (Title VII); 28 U.S.C. § 1331 (federal question); 28

U.S.C. § 1343(a)(3), & (4) (civil rights); and 28 U.S.C. §§ 2201 & 2202

(declaratory judgment).




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                                VENUE

  7.    Venue is proper in the Northern District of Florida under 42

U.S.C. § 2000e-5(f)(3) and 28 U.S.C. § 1391(b). Plaintiffs reside,

Defendants reside, and all of the acts or omissions complained of herein

occurred and will continue to occur in the Northern District of Florida.

Venue is proper in the Tallahassee Division of the Northern District of

Florida under N.D. Fla. Loc. R. 3.3 because it is where at least three of

the Defendants and one of the Plaintiffs reside and where a substantial

portion of the acts or omissions complained of herein occurred.

                            PLAINTIFFS

  8.    Ms. Claire resides in Trenton, Florida. She is a 62-year-old

transgender woman. For 32 years, Ms. Claire has been a dedicated

employee of the University of Florida, a component of the State’s

government. She works as a Senior Biological Scientist in the College of

Veterinary Medicine. At all relevant times, Ms. Claire has been an

employee of the University of Florida. The University of Florida’s

employees are State employees. As a State employee, Ms. Claire

receives an employer-sponsored health plan through the State as part of

the “compensation, terms, conditions, or privileges of employment.” 42

U.S.C. § 2000e-2(a)(1).


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  9.    Ms. Lane resides in Tallahassee, Florida. She is a 39-year-old

transgender woman. Ms. Lane is a licensed attorney, working within the

appellate division of the Office of the Public Defender in the Second

Judicial Circuit of Florida in Tallahassee, a component of the State’s

government. At all relevant times, Ms. Lane was an employee of the Office

of the Public Defender. The Office of the Public Defender’s employees

are State employees. As a State employee, Ms. Lane receives an

employer-sponsored health plan through the State as part of the

“compensation, terms, conditions, or privileges of employment.” 42 U.S.C.

§ 2000e-2(a)(1).

                           DEFENDANTS

  10.   Ms. Claire and Ms. Lane sue defendant Florida Department of

Management Services (“Department”), an agency of the State’s

government. The Division of State Group Insurance is within the

Department of Management Services. The Department creates the

requirements for the State Plans offered to State employees and is an

employer within the meaning of Title VII. The Department determines

components of State employees’ specific “compensation, terms,

conditions, or privileges of employment[,]” 42 U.S.C. § 2000e-2(a)(1),




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when it establishes the scope of health insurance coverage for State

employees.

  11.    Ms. Claire and Ms. Lane sue defendant Jonathan Satter in his

official capacity as Secretary of the Florida Department of Management

Services, an agency of the State’s government. As Secretary, Satter is

the head of the Department. § 20.22, Fla. Stat. (2019).

  12.    Ms. Claire sues defendant University of Florida Board of

Trustees (“Board of Trustees”). The Board of Trustees governs and

oversees the operations of the University of Florida and is an employer

within the meaning of Title VII. The University of Florida is a public

university in the State university system. The Board of Trustees is a

corporate body with the ability to sue and be sued. § 1001.72, Fla. Stat.

(2019). The Board of Trustees’ established powers and duties include

controlling certain terms and conditions of employment for the University’s

employees. For example, it sets compensation and employee benefits,

which include providing healthcare coverage to University of Florida

employees – including Ms. Claire – through State Plans solicited, chosen,

and implemented by the Department.

  13.    Ms. Claire sues defendant Moretza Hosseini, in his official

capacity as Chair of the Board of Trustees, and defendants Thomas


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  Kuntz, David Brandon, James Heavener, Leonard Johnson, Michael

  Murphy, Daniel O’Keefe, Rahul Patel, Marsha Powers, Jason Rosenberg,

  Robert Stern, Ray Thomas, Anita Zucker, in their official capacities as

  Board of Trustees members. As Board of Trustees members, they carry

  out all lawful functions permitted by the Board’s Bylaws, its Operating

  Procedures, Board of Governors regulations, or other law. These

  functions include setting compensation and other conditions of

  employment, including benefits. Board of Governors Regulation 1.001.

     14.   Ms. Lane sues defendant Andy Thomas in his official capacity as

  Public Defender of the Second Judicial Circuit of Florida. Defendant

  Thomas controls certain terms and conditions of Ms. Lane’s employment

  and is an employer within the meaning of Title VII.

     15.   At all times relevant to this Complaint, defendants acted under

  color of state law and knew, or should have known, of the policies,

  practices, acts, or omissions alleged herein.

                              FACTUAL ALLEGATIONS

Transgender individuals and Gender Dysphoria

     16.       “Sex assigned at birth” refers to the concept that in our society,

  sex is typically assigned at birth based on the appearance of external

  genitalia.


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   17.   “Gender identity” is a well-established medical concept referring

to one’s sense of belonging to a particular gender. Typically, people who

are designated female at birth based on their external anatomy identify as

girls or women, and people who are designated male at birth identify as

boys or men. For transgender individuals, however, the sense of one’s

self—one’s gender identity—differs from the sex assigned to them at birth.

   18.   All human beings have a gender identity.

   19.   “Gender expression” is the outward manifestation of one’s

gender identity.

   20.   “Transgender” is an umbrella term for persons whose gender

identity or gender expression does not conform to that typically associated

with the sex to which they were assigned at birth.

   21.   Transgender men are men who were assigned “female” at birth

but have a male gender identity. Transgender women are women who

were assigned “male” at birth but have a female gender identity.

   22.   The medical diagnosis for the feeling of incongruence between

one’s gender identity and one’s sex assigned at birth, and the resulting

distress caused by that incongruence, is called “gender dysphoria.”

Gender dysphoria is a medical condition codified in the DSM-5 (§ 302.85)

and the ICD-10.


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   23.     Gender dysphoria is a serious, but treatable, medical condition.

Left untreated, it can lead to debilitating distress, depression, anxiety,

impairment of function, substance use, self-surgery to alter one’s genitals

or secondary sex characteristics, self-injurious behavior, and even

suicide.

   24.     The American Medical Association, the American Psychiatric

Association, the American Psychological Association, the American

Counseling Association, the American Psychoanalytic Association, the

American Academy of Child and Adolescent Psychiatry, the American

Academy of Nursing, the American Academy of Pediatrics, the World

Professional Association of Transgender Health, and many other leading

medical organizations recognize the medical necessity of gender-

affirming care for transgender people with gender dysphoria.

   25.     The World Professional Association for Transgender Health

(“WPATH”) publishes the widely accepted standards of care for treating

gender dysphoria. The WPATH Standards of Care have been recognized

as authoritative standards of care by the leading medical organizations,

the U.S. Department of Health and Human Services, and several federal

courts.




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   26.   Under the WPATH standards, medically necessary treatment for

gender dysphoria can include numerous steps to affirm one’s gender

identity and help an individual alleviate dysphoria by establishing physical,

phenotypic, social, and expressive congruence with the transgender

individual’s gender identity. This treatment, often referred to as gender-

affirming care, may include social transition (living and presenting oneself

to the world in accordance with one’s gender identity), counseling,

hormone replacement therapy, and surgery (sometimes called gender-

affirming surgery, gender-confirming surgery, sex-reassignment surgery,

or gender corrective surgery).

   27.   Gender-affirming surgery includes any surgical procedure to

alter or adjust an individual’s primary or secondary sex characteristics to

align with their gender identity.

   28.   Not all transgender individuals will need these medical

interventions. Some transgender people may not experience gender

dysphoria. But for other individuals, these are medically necessary

procedures.

   29.   When individuals diagnosed with gender dysphoria do not obtain

competent     and    necessary      treatment,   serious   and   debilitating




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psychological distress can occur, including depression, anxiety, self-

harm, and suicidal ideation.

   30.   Under the WPATH standards, treatment is based on the

individualized needs of the person. Under each patient’s treatment plan,

the goal is to enable the individual to live all aspects of one’s life consistent

with their gender identity, thereby eliminating the distress associated with

the incongruence.

   31.   According to every major medical organization and the

overwhelming consensus among medical experts, treatments for gender

dysphoria, including surgical procedures, are effective, safe, and

medically necessary for many transgender persons to alleviate their

gender dysphoria.

   32.   WPATH standards recognize that treatment for gender

dysphoria is multimodal. Some transgender persons diagnosed with

gender dysphoria require hormones, some may need to accord their

expression and presentation with their gender, some may need surgical

intervention, and some may need a combination of treatments.

   33.   In the past, public and private insurance companies excluded

coverage for gender-affirming care based on the misunderstanding that

such treatments were cosmetic or experimental. Today, gender-affirming


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  care, including surgical care, is routinely covered by private insurance

  programs and the majority of Fortune 500 companies. More than 20 states

  explicitly cover gender-affirming care in their Medicaid plans, and 19

  states and the District of Columbia prohibit the exclusion of gender-

  affirming care in private insurance policies.

     34.   The American Medical Association, American Psychological

  Association, American Psychiatric Association, American College of

  Obstetricians and Gynecologists, and other leading medical organizations

  have issued policy statements and guidelines supporting healthcare

  coverage for gender-affirming care as medically necessary under

  contemporary standards of care.

     35.   No major medical organization has taken the position that

  gender-affirming care cannot be medically necessary, nor has any such

  group supported bans on insurance coverage for gender-affirming care.

The State Plans

     36.   The State of Florida offers health-insurance benefits to State

  employees and their dependents through the State Plans (“State Plans”).

     37.   By statute, the Department is responsible for purchasing health

  care for State employees under the State Plans, including developing

  requests for proposals or invitations to negotiate for State employee


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health services, determining the provided healthcare benefits, and

negotiating contracts for healthcare and healthcare administrative

services. § 110.123(3)(c), Fla. Stat. (2019).

   38.   Through the Department, the State contracts with private health

maintenance organizations to provide employees with health care under

the State Plans through the Department’s procurement process.

   39.   Aetna, AvMed, Capital Health Plan, and UnitedHealthCare

solicited and were awarded contracts by the Department. These insurers

administer the State Plans.

   40.   The Department awarded contracts to AvMed for Gilchrist

County, which is where Ms. Claire resides, and to Capital Health Plan for

Leon County, which is where Ms. Lane resides.

   41.   As part of compensation for employment, the University of

Florida Board of Trustees provides Ms. Claire with health care coverage

through the State Plans selected by the Department and administered by

AvMed.

   42.   Although the Board of Trustees offers certain categories of

employees at the University of Florida additional health care plan options,

the Board of Trustees only offers the State Plans to some employees,

including Ms. Claire.


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     43.   The Office of the Public Defender only offers its employees,

  including Ms. Lane, health care coverage through the State Plans.

The State Plans’ Exclusion of Gender-Affirming Care

     44.   On October 11, 2016, the Department issued an Invitation to

  Negotiate, soliciting private health maintenance organizations to offer 3-

  year contracts to administer State Plans (“Invitation to Negotiate”).

     45.   The Invitation to Negotiate established the defined scope of

  benefits to be offered under the State Plans and provided a categorical

  exclusion for “gender reassignment or modification services and supplies”

  (“State Plan Exclusion”).

     46.   Private health maintenance organizations were required to agree

  to administer the State Plans as outlined by the Department in the

  Invitation to Negotiate, including agreeing to the State Plan Exclusion.

     47.   The Department retains the authority to modify the scope of

  benefits at any time.

     48.   On April 18, 2017, the Department published a Notice of Intent

  to Award contracts with health maintenance organizations to administer

  the State Plans. Contracts were awarded to Aetna, AvMed, Capital Health

  Plan, and United Health Care.




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      49.   The Department intentionally solicited State Plans with

categorical exclusions for medically necessary gender-affirming care.

      50.   All of the State Plans solicited, chosen, and implemented by the

Department for all State employees, including Plaintiffs, explicitly exclude

coverage of “gender reassignment or modification services or supplies.”

      51.   State employees covered by State Plans receive health

insurance coverage for other medically necessary care.

      52.   Transgender individuals covered by State Plans do not receive

health insurance coverage for gender-affirming care, although it is

medically necessary, due to the State Plan Exclusion.

      53.   The State establishes the terms, conditions, and criteria used in

the determination of whether services are medically necessary.

      54.   The State’s definition of “medical necessity” for administration of

State Plans, as provided in AvMed and CapitalHelath coverage booklets,

is:

            The use of any appropriate medical treatment, service,
            equipment and/or supply as provided by a Hospital, skilled
            nursing facility, physician or other provider which is
            necessary for the diagnosis, care and/or treatment of a
            Health Plan Member’s illness or injury, and which is:
              1) Consistent with the symptom, diagnosis, and
                 treatment of the Health Plan Member’s condition;
              2) The most appropriate level of supply and/or service
                 for the diagnosis and treatment of the Health Plan
                 Member’s condition;
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             3) In accordance with standards of acceptable
                community practice;
             4) Not primarily intended for the personal comfort or
                convenience of the Health Plan Member, the Health
                Plan Member’s family, the physician or other health
                care providers;
             5) Approved by the appropriate medical body or health
                care specialty involved as effective, appropriate and
                essential for the care and treatment of the Health Plan
                Member’s condition; and
             6) Not Experimental or Investigational.


  55.   In the State Plans procured by the Department, an exclusion

exists for any services considered to be “Experimental/Investigational or

Not Medically Necessary Treatment.”

  56.   Given there is already an exclusion for any services considered

to be “Experimental/Investigational or Not           Medically Necessary

Treatment,” the only function of the categorical State Plan Exclusion for

gender-affirming care is to exclude medical care that would otherwise

qualify as medically necessary under the State Plans’ generally applicable

standards.

  57.   The State Plan Exclusion is a categorical exclusion that

precludes transgender state employees from having their gender-

affirming medical needs subjected to the same medical necessity analysis

to which all other state plan members’ medical needs are subjected.



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     58.   The State Plan Exclusion was specifically included in the State

  Employees’ HMO Plan Group Health Insurance Plan Booklet & Benefits

  Document provided to each Plaintiff by their employer.

     59.   The medical procedures Plaintiffs seek, which the State

  continues to deny, are medically necessary for them. Despite meeting the

  medical-necessity criteria for gender-affirming treatment for gender

  dysphoria, the State Plan Exclusion wrongfully denied, and continues to

  deny, coverage to each Plaintiff.

The State’s Denial of Medically Necessary Care to Plaintiffs

                          Plaintiff Jami Claire

     60.   Ms. Claire is a Senior Biological Scientist in the College of

  Veterinary Medicine at the University of Florida, where she has been

  employed for thirty-two years.

     61.   Ms. Claire served in the United States Navy from 1974-1980.

  She served for six and one-half years, first as a cook, and then as an

  aircraft electrician.

     62.   Ms. Claire received her B.S. in Animal Science Production from

  Brigham Young University in 1984 and her M.S. in Animal Science

  Management from Utah State University in 1989.




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     63.   Ms. Claire is a woman. She is also transgender. She was

  assigned a male birth sex, but her gender identity is female and she

  identifies as a woman.

     64.   Ms. Claire has a well-established social and professional identity

  as a woman. She has experienced gender dysphoria since the age of

  seven.

     65.   It was not until 1975, when Ms. Claire was seventeen years old,

  that she finally discovered a name for what she had felt all her life. She

  was enlisted in the United States Navy and was eating a meal with her

  fellow sailors when she first heard celebrity Renée Richards discussing

  her experience affirming her female gender identity despite being

  assigned the male sex at birth. In that moment, Ms. Claire realized she

  was transgender.

Gender-Affirmation History

     66.   Ms. Claire began her gender-affirmation in 1997, during which

  time she was diagnosed with gender dysphoria, and began going to

  counseling for her dysphoria, taking hormones, and undergoing

  electrolysis (hair removal).

     67.   At that time, Ms. Claire inquired into whether her State Plan

  would cover her gender-affirming care and was told it would not. Ms.


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Claire then paid out of pocket for her treatment, including hormones. Her

counseling was covered by the Veterans Affairs Medical Center. She

continued her gender-affirmation, through counseling, hormones, and

electrolysis, for five years.

   68.   Despite her strong desire to continue to bring her body into

alignment with her female gender identity, Ms. Claire was forced to cease

her gender-affirmation around 2002. Ms. Claire’s wife and children

wanted nothing to do with her because of Ms. Claire’s gender identity. Her

family disowned her, and she knew the Mormon Church would ex-

communicate her if she continued gender-affirmation. Additionally, she

could not afford the gender-affirming care she had been paying for out of

pocket due to the financial toll of her divorce.

   69.   Fourteen years later, in 2016, Ms. Claire resumed her gender-

affirmation to live authentically as a woman. Resuming Ms. Claire’s

gender-affirming care remained medically necessary for her due to the

constant stress, anxiety, pain, and anguish she experienced struggling to

live her life as a man.

   70.   Ms. Claire meets the DSM-5 criteria for the diagnosis of Gender

Dysphoria, 302.85, as well as the ICD-10 criteria for the diagnosis of

Gender Identity Disorder, F64.0.


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  71.   Ms. Claire always had a strong desire to outwardly express her

female gender identity and to align her body with her female gender

identity. However, Ms. Claire feared the consequences of doing so in her

personal and professional life, due to the stigma and political violence

transgender people in our society often face.

  72.   In the summer of 2016, Ms. Claire again began counseling with

the transgender care coordinator at the Department of Veterans Affairs

Medical Center (“VA”) in Gainesville, where she received primary care for

over twelve years. She consistently has been in counseling since that time

for her gender dysphoria.

  73.   In December 2016, Ms. Claire began outwardly expressing her

female gender identity in all public spaces, both in her personal life and

her professional life as an employee of the University of Florida College

of Veterinary Medicine. She has done so consistently ever since.

  74.   Ms. Claire sought to resume hormone replacement therapy,

intending to induce physical changes in the body caused by female

hormones during puberty, to feminize her body, and to have her hormone

levels match her gender identity.




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  75.   A mental health professional evaluated Ms. Claire to determine

her readiness for hormones, and she was referred to an endocrinologist

for hormone replacement therapy.

  76.   In May 2017, Ms. Claire began hormone replacement therapy at

the recommendation of her therapist and her treating endocrinologist, as

recommended by the WPATH Standards of Care. Ms. Claire inquired

about coverage by her State Plan but was told her State Plan refused to

cover hormone replacement therapy due to the State Plan Exclusion.

  77.   In 2017, Ms. Claire also began electrolysis, to help treat the

dysphoria she experienced as a result of having body hair not typical of a

female. As indicated by the WPATH Standards of Care, electrolysis can

be a medically necessary treatment to alleviate gender dysphoria. Again,

Ms. Claire inquired about coverage by her State Plan, but was told that

her State Plan refused to cover this treatment due to the State Plan

Exclusion.

  78.   Ms. Claire paid out of pocket for the electrolysis treatments until

August 2018.

  79.   To ensure her legal identity matched her female gender identity

and expression, Ms. Claire obtained a court order from Florida’s Eighth




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  Judicial Circuit Court on September 1, 2017, officially changing her legal

  name to Jami Lynn Claire.

     80.   Ms. Claire subsequently amended the legal name and gender

  marker on her government-issued identification documents to reflect her

  female gender identity, including her Social Security record, Florida

  driver’s license, U.S. Passport, and DD-214 (Certificate of Release or

  Discharge from Active Duty).

     81.   In November 2018, Ms. Claire underwent an augmentation

  mammoplasty to continue feminizing her body. The WPATH Standards of

  Care recognize augmentation mammoplasty is medically necessary for

  some transgender individuals. Again, Ms. Claire inquired about coverage

  by her State Plan, but was told that her State Plan refused to cover this

  treatment due to the State Plan Exclusion. Therefore, she paid out of

  pocket for the surgery.

Medical Necessity of Denied Procedure

     82.   Ms. Claire has received hormone replacement therapy for over

  two years. She is on the anti-androgen (testosterone blocker)

  spironolactone and estrogen.

     83.   The goal of hormone replacement therapy for transgender

  women is to induce physical changes in the body caused by female


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hormones during puberty (secondary sex characteristics) to promote the

matching of an individual’s gender identity and body (gender

congruence). This requires a suppression of endogenous androgens

(testosterone) and the addition of estrogen.

   84.   Long term use of estrogen comes with risks, including liver

disease, cardiovascular disease, metabolic syndrome, and breast cancer.

One of the most common and concerning risks is that estrogen increases

the risk of blood clots. Blood clots can cause death, permanent lung

damage, permanent brain damage (stroke), heart attack, or chronic

problems with the veins in the legs.

   85.   Transdermal estrogen (absorbed by skin through patches) has

been shown to decrease the risk of blood clots. For this reason,

transdermal estrogen is usually recommended to anyone over the age of

forty.

   86.   Ms. Claire, however, must ingest the estrogen orally through pills

because her body cannot absorb the estrogen through transdermal

patches; and, due to her age, she is ineligible for estrogen injections.

   87.   Ms. Claire is sixty-two years old, and is at a heightened risk of

developing deep vein thrombosis. Deep vein thrombosis is a blood clot

that forms in a vein deep in the body, most often in the lower leg or thigh.


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A deep vein thrombosis can break loose and cause a pulmonary

embolism in the lung. This is a constant source of concern for Ms. Claire.

  88.   The testicles are the main source of testosterone production.

When hormone replacement therapy fails to block the production of

testosterone and change hormonal levels in the body, surgical removal of

the testicles functions to remove the main source of testosterone

production and its effects. This allows patients to cease or significantly

reduce their dosage of androgen-blockers (spironolactone) and to reduce

their dosage of estrogen.

  89.   Due to the potential health risks and long-term effects of

continuing such high dosages of hormones at her age, Ms. Claire sought

an orchiectomy (surgical removal of the testicles), a procedure that the

WPATH Standards of Care recognize can be medically necessary and

was recommended by her treating physician in accordance with those

standards.

  90.   Ms. Claire’s treating physician deemed this procedure medically

necessary to treat her gender dysphoria.

  91.   Peer-reviewed medical literature has demonstrated gender-

affirmation surgeries, such as orchiectomies, can ameliorate the




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  psychological symptoms of gender dysphoria, including depression,

  anxiety, and suicidal ideation.

Procedure Denied by Defendants

     92.   On December 27, 2018, Ms. Claire sought authorization through

  her State Plan for an orchiectomy.

     93.   On January 8, 2019, AvMed denied insurance coverage for the

  medically necessary procedure, citing to the State Plan Exclusion of

  “gender reassignment or modification services or supplies” as the basis

  for denial.

     94.   On January 25, 2019, Ms. Claire appealed this denial to AvMed.

     95.   On February 22, 2019, AvMed denied the appeal, again citing to

  the State Plan Exclusion of “gender reassignment or modification services

  or supplies” as the basis for the denial.

     96.   On March 18, 2019, Ms. Claire filed a second-level appeal to the

  Division of State Group Insurance.

     97.   On May 17, 2019, the Division of State Group Insurance denied

  the appeal, citing to the State Plan Exclusion of “gender reassignment or

  modification services or supplies” as the basis for the denial.

     98.   Had the requested surgery been recommended by a medical

  provider for a medically necessary purpose other than treatment for


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gender dysphoria – for instance, an orchiectomy for an individual suffering

from testicular cancer or trauma to the testes – the State Plan would have

covered it.

   99.   Ms. Claire has suffered, and will continue to suffer, because of

the State Plan Exclusion.

   100. Ms. Claire meets all the criteria set forth in the WPATH

Standards of Care concerning the medical necessity for the orchiectomy.

   101. Ms. Claire has followed all the recommended WPATH Standards

of Care for gender-affirmation, including mental health counseling,

hormone replacement therapy, and social transition in all spheres of

functioning, and her physician has deemed her ready to undergo the

medically necessary next step of an orchiectomy. Medical research

supports an orchiectomy as a medically necessary intervention for some

transgender   women.        Medical    research   additionally   documents

substantial quality-of-life benefits in emotional, physical, and social

domains for those who have undergone this procedure.

   102. The State Plan Exclusion prevents Ms. Claire from obtaining

medically necessary treatment in accordance with her physicians’

recommendations and the WPATH Standards of Care, putting her at a

heightened risk for serious health complications such as blood clots and


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deep vein thrombosis. The State Plan Exclusion also precludes her from

taking the next essential step in her treatment for gender dysphoria.

  103. Ms. Claire has suffered as a result of the actions of the Board of

Trustees as well.

  104. The Board of Trustees must allow university employees to

participate in State Plans through the State insurance group programs,

but are not limited to providing only those State Plans to employees.

  105. By statutory authority, the Board of Trustees creates university-

sponsored insurance programs. For example, the Board of Trustees

established GatorCare Health Management Corporation (“GatorCare”) in

2012, through which it offers health benefits to certain classifications of

employees, but not all employees.

  106. GatorCare covers gender-affirming surgery and services related

to gender dysphoria or gender-affirmation.

  107. Ms. Claire has been offered only the State Plan with the

corresponding State Plan Exclusion for gender-affirming care.

  108. The duties of the Board of Trustees include ensuring that the

University complies with federal and State laws and regulations.




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Exhaustion of Administrative Remedies

     109. On June 4, 2019, Ms. Claire timely filed a charge with the Equal

  Employment Opportunity Commission (“EEOC”) against AvMed, the

  Florida Department of Management Services, and the University of

  Florida for sex discrimination in violation of Title VII.

     110. On July 22, 2019, Ms. Claire requested the Notice of Right to

  Sue on all charges.

     111. On July 27, 2019, the EEOC issued the Notice of Right to Sue

  for all charges.

     112. On August 6, 2019, Ms. Claire requested that the Notice of Right

  to Sue for the charges against the Florida Department of Management

  Services and the University of Florida be issued by the U.S. Department

  of Justice, pursuant to 42 USC § 2000e-5(f)(1) and 29 CFR §

  1601.28(d)(2).

     113. On October 21, 2019, Ms. Claire received the Notice of Right to

  Sue letter from the U.S. Department of Justice for the charges against the

  Florida Department of Management Services and the University of

  Florida.




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                         Plaintiff Kathryn Lane

   114. Ms. Lane is an attorney, currently working within the appellate

division of the Office of the Public Defender in the Second Judicial Circuit

of Florida.

   115. Ms. Lane received her B.A. in Political Science from St. Leo

University in 2003 and her J.D. from the University of Florida in 2006.

   116. Ms. Lane worked as a prosecutor for the Office of the State

Attorney for the Fifth Judicial Circuit of Florida in Ocala from 2006 to 2011.

   117. Ms. Lane worked in the criminal appeals division of the Florida

Attorney General’s office from 2011 to 2017.

   118. Ms. Lane is a woman. She is also transgender. She was

assigned a male birth sex, but her gender identity is female and she

identifies as a woman.

   119. Ms. Lane has a well-established social and professional identity

as a woman. She has experienced gender dysphoria since approximately

the age of five, but suppressed her female gender identity for as long as

possible until she could no longer do so. This has caused her severe

depression and anxiety.




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Gender-Affirmation History

     120. Ms. Lane embraced the female gender with which she has

  always identified in 2012, at which time she began her gender-affirmation.

     121. Ms. Lane began counseling in March 2012.

     122. Ms. Lane meets the DSM-5 criteria for the diagnosis of Gender

  Dysphoria, 302.85, as well as the ICD-10 criteria for the diagnosis of

  Gender Identity Disorder, F64.0. She was diagnosed with gender

  dysphoria in March 2012. Her symptoms are characterized as severe.

     123. In Spring 2012, Ms. Lane began the process of facial hair

  removal. She inquired about coverage by her State Plan but was told that

  her State Plan refused to cover the treatment due to the State Plan

  Exclusion. She paid out of pocket for this treatment.

     124. In August 2012, Ms. Lane began hormone replacement therapy.

  She has been on estrogen and spironolactone for over seven years.

     125. In Fall 2012, Ms. Lane began growing out her hair so she would

  be identified more easily as a female, which would alleviate some of her

  dysphoria.

     126. In March 2015, Ms. Lane began outwardly expressing her female

  gender identity in all areas of her life.




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   127. In   June   2015,    Ms.   Lane    underwent    an     augmentation

mammoplasty to continue the feminization of her body. The WPATH

Standards of Care recognize augmentation mammoplasty is medically

necessary for some transgender individuals. Again, Ms. Lane inquired

about coverage by her State Plan, but she was told that her State Plan

refused to cover this treatment due to the State Plan Exclusion. Therefore,

she paid out of pocket for the surgery.

   128. Since 2015, Ms. Lane has presented consistently as female in all

areas of her personal and professional life, including updating her name

with The Florida Bar as part of her professional transition.

   129. To ensure that her legal identity matched her female gender

identity and expression, Ms. Lane obtained a court order from Florida’s

Second Judicial Circuit Court on August 27, 2015, officially changing her

legal name to Kathryn Lane to match her female gender identity.

   130. Ms. Lane subsequently amended the legal name and gender

marker on her government-issued identification documents to reflect her

female gender identity, including her Social Security record, Florida

driver’s license, and U.S. Passport.




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Procedure Denied by Defendants

     131. Ms. Lane has undergone gender-affirming hormone replacement

  therapy for seven years, and treating physicians believe she has received

  the maximum benefit from this therapy. They expect no further physical

  change. Despite hormone therapy, her facial structure remains

  phenotypically male. To more fully alleviate her gender dysphoria, she

  requires medically necessary surgery.

     132. The WPATH Standards of Care recognize that for those who do

  not experience relief due to other measures, “surgery is essential and

  medically necessary to alleviate their gender dysphoria…relief from

  gender dysphoria cannot be achieved without modification of their primary

  and/or secondary sex characteristics to establish greater congruence.”

     133. Gender-affirming surgeries for the face, known as facial

  feminization surgery, can be a critical part of gender-affirmation for a

  transgender woman. Facial features play an important part in being

  recognized as a particular gender. The public’s ability to recognize an

  individual as transgender based on their facial features places that

  individual at risk of violence, harassment, and discrimination.

     134. Facial feminization surgery facilitates the ability of a transgender

  woman in “passing” (i.e., blending or assimilating), which refers to a


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  transgender person's ability to go through daily life without being

  recognized as being transgender.

     135. After a consultation, Ms. Lane’s physician recommended facial

  feminization surgery as a medically necessary treatment for her gender

  dysphoria. Consistent with the WPATH Standards, Dr. Keojampa

  recommended via letter on January 11, 2019, that Ms. Lane obtain the

  gender-affirming surgery.

     136. On February 19, 2019, Ms. Lane received a denial letter from

  Capital Health denying authorization for coverage of the medically

  necessary procedure, citing the State Plan Exclusion of “gender

  reassignment or modification services or supplies” as the basis for denial.

     137. Ms. Lane appealed this denial to Capital Health on April 16,

  2019.

     138. On April 25, 2019, Capital Health denied the appeal, again citing

  the State Plan Exclusion of “gender reassignment or modification services

  or supplies” as the basis for denial. Capital Health added as a basis for

  denial the exclusion for “Cosmetic Surgeries/Services.”

Procedure Denied by Defendants is Medically Necessary

     139. The surgery for which Ms. Lane sought authorization is medically

  necessary treatment recommended by professionals specializing in


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gender-affirming care to alleviate the significant depression, anxiety, and

psychological distress that she faces on a daily basis. This procedure is

a medically necessary treatment for Ms. Lane’s gender dysphoria.

   140. Despite her intentionally feminine presentation, Ms. Lane’s facial

features can still be identified as masculine, which causes her significant

anxiety, depression, and psychological distress, in addition to putting her

at risk for violence, harassment, and discrimination.

   141. Transgender      women      face    violence,   harassment,      and

discrimination at disproportionately high rates, and there are transgender

women murdered in Florida every year because they are transgender.

   142. Ms. Lane lives in fear of such interactions as a result of having

facial features that can be identified as masculine and that “out” her (i.e.,

disclose that she is transgender) to strangers without her consent or

volition.

   143. Despite Ms. Lane’s consistent participation in psychotherapy

since 2012, various psychotropic regimens and Transcranial Magnetic

Stimulation   (a   noninvasive   procedure     that   uses magnetic    fields

to stimulate nerve cells in the brain to improve symptoms of depression),

she persistently experiences depressed mood, self-esteem deficits,




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  disgust and dissatisfaction with her appearance, suicidal ideation, fatigue,

  anxiety, fear, and a pervasive sense of hopelessness.

     144. Ms. Lane meets all of the criteria set forth in the WPATH

  Standards of Care concerning the medical necessity of gender-affirming

  surgery.

     145. Ms. Lane has followed all the recommended WPATH Standards

  of Care for gender-affirmation, including mental health counseling,

  hormone replacement therapy, and social transition in all spheres of

  functioning, and multiple physicians have deemed her ready to undergo

  the medically necessary next step of facial feminization surgery.

     146. Medical research supports facial feminization surgery as a

  medically necessary intervention for transgender females. This research

  documents the substantial quality-of-life benefits in emotional, physical,

  and social domains for those who have undergone this procedure.

Procedure Denied by Defendants is Not Cosmetic

     147. The WPATH Standards of Care, the U.S. Department of Health

  and Human Services, and several federal courts, make it clear gender-

  affirming procedures that are medically necessary are not cosmetic.

     148. Ms. Lane’s requested procedure was deemed medically

  necessary by multiple medical professionals who are qualified to make


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  such determinations. Thus, the procedure should not be denied under the

  State Plan’s exclusion for “Cosmetic Surgeries/Services.”

     149. The purpose of changing sex characteristics is to treat gender

  dysphoria. This purpose underscores the medical necessity as opposed

  to cosmetic nature of these treatments. Facial feminization surgery is not

  designed to “improve the appearance” of a person’s face, but rather to

  affirm a transgender woman’s gender identity in that the face functions as

  a face that is consistent with the person’s gender identity. Accordingly,

  facial feminization is a form of sex reassignment surgery.

     150. Peer-reviewed        medical        literature,   medical   opinions   of

  professional societies, evidence-based professional standards of care,

  and the opinions of health care professionals involved in the specialty of

  treating gender dysphoria concur that facial feminization surgery is safe,

  effective, and medically necessary for treating gender dysphoria.

Exhaustion of Administrative Remedies

     151. On June 4, 2019, Ms. Lane timely filed a charge with the Equal

  Employment Opportunity Commission (“EEOC”) against Capital Health

  Plan and the Florida Department of Management Services for sex

  discrimination in violation of Title VII.




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   152. On July 18, 2019, the EEOC issued a Dismissal and Notice of

Right to Sue for the charge against Capital Health.

   153. On July 22, 2019, Ms. Lane requested the Notice of Right to Sue

for the charge against the Florida Department of Management Services.

   154. On August 1, 2019, the EEOC notified Ms. Lane that the request

for the Notice of Right to Sue for the charge against the Florida

Department of Management Services had been forwarded to the U.S.

Department of Justice for action.

   155. On November 4, 2019, Ms. Lane received the Notice of Right to

Sue letter from the U.S. Department of Justice for the charge against the

Florida Department of Management Services.

   156. On October 18, 2019, Ms. Lane timely filed a charge with the

EEOC against Andy Thomas in his official capacity as Public Defender of

the Second Judicial Circuit for sex discrimination in violation of Title VII.

   157. On November 5, 2019, Ms. Lane requested the Notice of Right

to Sue for the charge against Andy Thomas in his official capacity as

Public Defender of the Second Judicial Circuit.

        COMMON ALLEGATIONS FOR CLAIMS I, II AND III,
          TITLE VII OF THE CIVIL RIGHTS ACT OF 1964

   158. Plaintiffs incorporate by reference paragraphs 1 through 157 of

the Complaint as if fully set forth below.
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   159. Title VII of the Civil Rights Act of 1964 provides that employers

may not “discriminate against any individual with respect to his

compensation, terms, conditions, or privileges of employment, because

of such individual’s ... sex.” 42 U.S.C. § 2000e-2(a)(1).

   160. An employer-sponsored health plan constitutes “compensation,

terms, conditions, or privileges of employment.” 42 U.S.C. § 2000e-

2(a)(1).

   161. Title VII’s prohibition on “sex” discrimination encompasses

discrimination based on failure to conform to gender stereotypes – i.e.,

failing to act and appear according to gender-expressive expectations

ordinarily assigned to men and women.

   162. A person is defined as transgender precisely because of the

perception that they contradict the gender stereotypes associated with the

sex they were assigned at birth. The very expression that associates

some transgender people with being transgender itself contradicts

stereotypes of expected appearance and behavior for the sex they were

assigned at birth.

   163. Discrimination against a transgender individual because of their

gender non-conformity is sex-based discrimination under Title VII,

whether described as being on the basis of sex or gender.


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   164. When a transgender person affirms their authentic gender, it

inherently contradicts standard gender stereotypes expected of the

individual based on their sex assigned at birth. An individual who was

assigned male at birth contradicts gender stereotypes and engages in

gender non-conforming behavior when seeking to feminize their body.

   165. Discrimination against transgender individuals seeking to align

their bodies to match their gender identities is sex-based discrimination.

   166. Denying medically necessary coverage to an individual for

“gender reassignment or modification” surgery constitutes impermissible

discrimination based on gender non-conformity.

   167. Discrimination against a transgender individual because of their

gender non-conformity or their gender transition is discrimination on the

basis of “sex” under Title VII.

   168. Not all transgender state employees seek to conform their bodies

to match their gender identities. What helps one transgender employee

alleviate gender dysphoria might be very different from what helps

another, and what is medically necessary to address the employee’s

gender dysphoria is a decision made on an individualized basis. For

some transgender employees, however, medical treatment, including

surgical intervention, remains essential and medically necessary to


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alleviate gender dysphoria. Further, some transgender state employees

have already undergone treatment for gender-affirmation, and still others

choose not to proceed for individual reasons. However, the exclusion

need not injure all members of a protected class for it to constitute sex

discrimination.

   169. All individuals, whether transgender or cisgender, have their own

understanding of their genders. A transgender person’s understanding of

their gender impacts the dysphoria they may experience when certain

physical characteristics do not align with their gender identity.

   170. However, the only individuals who require medically necessary

care to treat gender dysphoria, and thus the only individuals to whom the

State Plan Exclusion is being applied, are transgender individuals. As a

result of the State Plan Exclusion, non-transgender employees receive

coverage for all medically necessary healthcare, but transgender

employees do not.

   171. The State Plan Exclusion implicates sex stereotyping by limiting

the ability of a transgender person to transition, if not rendering it

economically infeasible, thus requiring transgender individuals to

maintain the physical characteristics of their birth-assigned sex. The State

Plan Exclusion illegally discriminates against transgender persons by


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mandating that transgender individuals preserve the physical attributes of

their birth-assigned sex over specific medical recommendations to the

contrary.

   172. The State Plan Exclusion on its face treats transgender

individuals differently on the basis of sex, thus triggering the protections

of Title VII.

                            CLAIM I
    VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964

 All Plaintiffs against Florida Department of Management Services

   173. Plaintiffs incorporate by reference paragraphs 1 through 172 of

the Complaint as if fully set forth below.

   174. Defendant Department has more than fifteen employees and is

an “employer” as that term is defined in Title VII, 42 U.S.C. § 2000e(b).

   175. Plaintiffs are “employees” of the State of Florida, as that term is

defined in Title VII, 42 U.S.C. § 2000e(f).

   176. Defendant Department substantially controls the terms and

conditions of employment for employees in the State of Florida, including

by establishing the scope of insurance coverage and administering that

coverage for all state employees.




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   177. The State Plans, solicited and implemented by the Department,

provided to Plaintiffs by the State agencies employing them, and

administered by AvMed and Capital Health, facially discriminate based on

Plaintiffs’ gender non-conformity and gender-affirmation by categorically

excluding coverage for all medically necessary “gender reassignment or

modification services or supplies.”

   178. By providing facially discriminatory State Plans that categorically

exclude all healthcare related to “gender reassignment or modification”

from the only available health plan it provides to employees, Defendant

Department    has    unlawfully   discriminated   against   Plaintiffs—and

continues to unlawfully discriminate against them—“with respect to

compensation, terms, conditions, or privileges of employment, because

of…sex.” 42 U.S.C. 2000e-2(a)(1).

                          CLAIM II
   VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964

      Plaintiff Claire against Defendant University of Florida
                          Board of Trustees

   179. Plaintiff incorporates by reference paragraphs 1 through 113 and

158 through 172 of the Complaint as if fully set forth below.

   180. Defendant Board of Trustees has more than fifteen employees

and is an employer within the meaning of Title VII, 42 U.S.C. § 2000e(b).

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   181. Ms. Claire is an employee of the University of Florida Board of

Trustees as that term is defined in Title VII, 42 U.S.C. § 2000e(f).

   182. The State Plan provided to Ms. Claire through her employment

facially discriminates based on Plaintiff’s gender non-conformity and

gender transition by categorically excluding coverage for all medically

necessary “gender reassignment or modification services or supplies.”

   183. Defendant Board of Trustees offers additional health care plan

options to other university employees through Gator Care, a private Direct

Service Organization.

   184. By law, Defendant Board of Trustees must provide employee

compensation and benefits, including health-insurance coverage, in a

non-discriminatory manner. It has chosen to provide gender-affirming

care to some, but not all, of its employees. This is a deliberate policy

decision by the Board of Trustees that discriminates against those

employees who are transgender, like Ms. Claire, and who are only offered

the State Plans with the State Plan Exclusion.

   185. By providing facially discriminatory State Plans that exclude all

healthcare related to “gender reassignment or modification” from the only

available health plans it provides to employees such as Plaintiff Claire,

Defendant Board of Trustees has unlawfully discriminated against Ms.


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Claire—and continues to unlawfully discriminate against her—“with

respect to compensation, terms, conditions, or privileges of employment,

because of…sex.” 42 U.S.C. 2000e-2(a)(1).

                             CLAIM III
       VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964

              Plaintiff Lane against Defendant Thomas

   186. Plaintiff incorporates by reference paragraphs 1 through 59 and

114 through 172 of the Complaint as if fully set forth below.

   187. Defendant Thomas in his official capacity as Public Defender of

the Second Judicial Circuit of Florida has more than fifteen employees

and is an employer as that term is defined in Title VII, 42 U.S.C. § 2000e-

(b).

   188. Ms. Lane is an employee of the Public Defenders Office of the

Second Judicial Circuit as that term is defined in Title VII, 42 U.S.C. §

2000e(f).

   189. The State Plan provided to Ms. Lane through her employment

facially discriminates based on Plaintiff’s gender non-conformity and

gender transition by categorically excluding coverage for all medically

necessary “gender reassignment or modification services or supplies.”




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   190. By providing facially discriminatory State Plans that exclude all

healthcare related to “gender reassignment or modification” from the only

available health plans provided to employees such as Plaintiff Lane,

Defendant Thomas has unlawfully discriminated against Ms. Lane—and

continues to unlawfully discriminate against her—“with respect to

compensation, terms, conditions, or privileges of employment, because

of…sex.” 42 U.S.C. 2000e-2(a)(1).

      COMMON ALLEGATIONS FOR CLAIMS IV, V, AND VI,
             EQUAL PROTECTION CLAUSE

   191. Plaintiffs incorporate by reference paragraphs 1 through 157 of

the Complaint as if fully set forth below.

   192. The Equal Protection Clause of the Fourteenth Amendment to

the United States Constitution prohibits the states and state actors from

discriminating against individuals on the basis of sex.

   193. Discrimination on the basis of gender stereotype is sex-based

discrimination.

   194. Discrimination against someone because of their gender non-

conformity is sex-based discrimination.

   195. A person is defined as transgender precisely because of the

perception that they contradict the gender stereotypes associated with the

sex they were assigned at birth. The very expression that associates
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some transgender people with being transgender itself contradicts

stereotypes of expected appearance and behavior for the sex they were

assigned at birth.

   196. Discrimination against a transgender individual because of their

gender non-conformity is sex discrimination under the Equal Protection

Clause, whether it is described as being on the basis of sex or gender.

   197. When a transgender person affirms their authentic gender, it

inherently contradicts standard gender stereotypes expected of the

individual based on their sex assigned at birth. An individual who was

assigned male at birth contradicts gender stereotypes and engages in

gender non-conforming behavior when seeking to feminize their body.

   198. Discrimination against transgender individuals seeking to align

their bodies to match their gender identities is sex-based discrimination.

   199. Denying medically necessary coverage to an individual for

“gender reassignment or modification” surgery constitutes impermissible

discrimination based on gender non-conformity.

   200. The Equal Protection Clause of the Fourteenth Amendment to

the United States Constitution prohibits the states and state actors from

discriminating against transgender individuals based on their gender

identity and gender non-conformity.


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   201. The Equal Protection Clause of the Fourteenth Amendment to

the United States Constitution prohibits the states and state actors from

discriminating against individuals because they are transgender.

   202. The State Plan Exclusion, on its face and as applied to Plaintiffs,

impermissibly discriminates against Plaintiffs on the basis of their sex,

their gender non-conformity, and because they are transgender, and

violates their rights to equal protection of the laws.

   203. Defendants’ actions purposefully single out a minority group,

transgender    persons,    that   historically   have    been   subjected   to

discriminatory treatment and are relegated to a position of political

powerlessness solely on the basis of stereotypes and myths regarding

their gender identity —a characteristic that bears no relation to their ability

to contribute to society and is immutable.

   204. The Equal Protection Clause requires the government to confer

to all women – cisgender and transgender – full citizen stature, which

includes equal opportunity to aspire, participate in, and contribute to

society based on their individual talents and capacities. When the State

employs people, full citizenship stature means providing equal benefits

for the contributions they make as State employees.




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   205. Discrimination on the basis of sex is a quasi-suspect class and

is subject to heightened scrutiny.

   206. Discrimination against individuals on the basis of their being

transgender is independently subject to heightened scrutiny.

   207. The State Plan Exclusion is not narrowly tailored to serve a

compelling governmental interest.

   208. The State Plan Exclusion is not substantially related to an

important governmental interest.

   209. The only function of the State Plan Exclusion is to exclude

medical care that would otherwise qualify as medically necessary under

the State Plan’s generally applicable standards.

   210. The State Plan Exclusion is grounded in sex stereotypes and

discomfort with Plaintiffs’ gender transition and gender non-conformity.

                          CLAIM IV
                  EQUAL PROTECTION CLAUSE

               All Plaintiffs against Defendant Satter

   211. Plaintiffs incorporate by reference paragraphs 1 through 157 and

191 through 210 of the Complaint as if fully set forth below.

   212. The State Plan Exclusion, on its face and as applied to Plaintiffs,

impermissibly discriminates against Plaintiffs on the basis of sex and

gender non-conformity and their being transgender and violates their right
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 to Equal Protection of the laws under the Fourteenth Amendment to the

 United States Constitution

    213. As a direct and proximate result of the discrimination described

 above, Plaintiffs have suffered injury and damages, including mental pain

 and suffering and emotional distress. Without injunctive relief from

 Defendants’ discriminatory exclusion of coverage for gender-affirming

 care, Plaintiffs will continue to suffer irreparable harm in the future.

                            CLAIM V
                    EQUAL PROTECTION CLAUSE

    Plaintiff Claire against Defendants Hosseini, Kuntz, Brandon,
  Heavener, Johnson, Murphy, O’Keefe, Patel, Powers, Rosenberg,
Stern, Thomas, and Zucker, in their official capacities as members of
               the University of Florida Board of Trustees

    214. Plaintiff incorporates by reference paragraphs 1 through 113 and

 191 through 210 of the Complaint as if fully set forth below.

    215. Defendants have the duty and legal authority to provide

 compensation and benefits, including health-insurance coverage, in a

 non-discriminatory manner. They have chosen to provide gender-

 affirming care to some, but not all, of their employees. This is a deliberate

 policy decision by the Board of Trustees that discriminates against those

 employees who are transgender, like Ms. Claire, and who are only offered

 the State Plans with the State Plan Exclusion.


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   216. The State Plan Exclusion, on its face and as applied to Ms.

Claire, impermissibly discriminates against her on the basis of sex and

gender non-conformity and her being transgender and violates her right

to equal protection of the laws under the Fourteenth Amendment to the

United States Constitution.

   217. As a direct and proximate result of the discrimination described

above, Ms. Claire has suffered injury and damages, including mental pain

and suffering and emotional distress. Without injunctive relief from

Defendants’ discriminatory exclusion of coverage for gender-affirming

care, Ms. Claire will continue to suffer irreparable harm in the future.

                           CLAIM VI
                   EQUAL PROTECTION CLAUSE

             Plaintiff Lane against Defendant Thomas

   218. Plaintiff incorporates by reference paragraphs 1 through 59, 114

through 157, and 191 through 210 of the Complaint as if fully set forth

below.

   219. The State Plan Exclusion, on its face and as applied to Ms. Lane,

impermissibly discriminates against her on the basis of sex and gender

non-conformity and her being transgender and violates her right to Equal

Protection of the laws under the Fourteenth Amendment to the United

States Constitution.
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     220. As a direct and proximate result of the discrimination described

  above, Ms. Lane has suffered injury and damages, including mental pain

  and suffering and emotional distress. Without injunctive relief from

  Defendants’ discriminatory exclusion of coverage for gender-affirming

  care, Ms. Lane will continue to suffer irreparable harm in the future.

                          RELIEF REQUESTED

     WHEREFORE, Plaintiffs respectfully request that this Court enter

judgment against the Defendants and award the following relief:


     A. Declaratory relief, including, but not limited to, a declaration that

        Defendants are in violation of the Equal Protection Clause of the

        Fourteenth Amendment of the U.S. Constitution, and Title VII.

     B. Permanent injunctive relief with respect to all Defendants, requiring

        Defendants to: (1) cease enforcement of the State Plan Exclusion

        of coverage for “gender reassignment or modification services or

        supplies,” and (2) provide benefits that cover Plaintiffs’ medically

        necessary gender-affirming care.

     C. Permanent injunctive relief with respect to Defendant Florida

        Department of Management Services to prohibit the Department

        from soliciting and accepting bids, and granting contracts, for health



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        insurance plans that contain an exclusion of coverage for gender-

        affirming care.

     D. Award Plaintiffs with respect to all Defendants compensatory

        damages, including emotional distress, and other appropriate relief

        as permitted by law.

     E. Award reasonable attorneys’ fees and costs where allowed by law.

     F. Award all other relief to which Plaintiffs may be entitled that the

        Court deems just and equitable.


Dated: January 13, 2020        Respectfully submitted,

                               /s/ Simone Chriss
                               SIMONE CHRISS, Fla. Bar No. 124062
                               simone.chriss@southernlegal.org
                               KIRSTEN ANDERSON, Fla. Bar No. 17179
                               kirsten.anderson@southernlegal.org
                               JODI SIEGEL, Fla. Bar No. 511617
                               jodi.siegel@southernlegal.org
                               Southern Legal Counsel, Inc.
                               1229 NW 12th Avenue
                               Gainesville, FL 32601
                               (352) 271-8890

                               DANIEL TILLEY, Fla. Bar No. 102882
                               dtilley@aclufl.org
                               ACLU Foundation of Florida
                               4343 West Flagler St., Suite 400,
                               Miami, FL 33134
                               (786) 363-2714

                               ANTON MARINO, D.C. Bar No. 1028871
                               Fla. Bar pending; will submit pro hac vice

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                       amarino@aclufl.org
                       ACLU Foundation of Florida
                       4343 West Flagler St., Suite 400
                       Miami, FL 33134
                       (786) 363-2707

                       JIMMY MIDYETTE, Fla. Bar No. 495859
                       jmidyette@aclufl.org
                       ACLU Foundation of Florida
                       118 W Adams St., Suite 510
                       Jacksonville, FL 32202
                       (904) 228-4797

                       ERIC LINDSTROM, Fla. Bar No. 104778
                       elindstrom@eganlev.com
                       Egan, Lev, Lindstrom & Siwica, P.A.
                       P.O. Box 5276
                       Gainesville, FL 32627
                       (352) 672-6901

                       ATTORNEYS FOR PLAINTIFFS




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